
494 P.2d 884 (1972)
PACIFIC NORTHWEST BELL TELEPHONE COMPANY, a Washington Corporation, et al., Appellants,
v.
CENTURY HOME COMPONENTS, Inc., a Corporation, and Wood Components Co., a Corporation, Respondents.
Supreme Court of Oregon, In Banc.
March 1, 1972.
Paul D. Clayton, and Luvaas, Cobb, Richards &amp; Fraser, Eugene, for appellants.
Darst B. Atherly and Thwing, Atherly &amp; Butler, Eugene, for respondent Century Home Components, Inc.
Richard Bryson, Windsor Calkins, and Bryson &amp; Robert, Eugene, for respondent Wood Components Co.
DENECKE, Justice.
When we initially decided this case, we were of the opinion that the testimony of the witness Hood was that he had told Sgt. Ayers that he, Hood, had a statement from Jane Davis either that her brother told her he had started the fire or that she had told other people that her brother had told her he started the fire. Petitions for rehearing were filed alleging that this was incorrect. Defendants state that they have no such statements and never so contended.
A restudy of the transcript leaves us in doubt. We conclude, however, that the jury could well have inferred that such statement existed. If the jury did draw this inference it might be less likely to find that the defendants caused the fire. Because of this, the trial court should have permitted the plaintiffs' counsel to inspect the statement of Jane Davis. Questioning of the witness Hood concerning the contents of the statement would have informed the jury what Jane Davis said or did not say in the statement. The plaintiffs, therefore, *885 were prejudiced by not being permitted to examine the statement.
That part of our opinion conditioning the granting of a new trial upon the contents of the statement is withdrawn. The case is remanded for a new trial.
